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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                            Plaintiff,            )
                                                  )
v.                                                )       Case No. 8:13CR396
                                                  )
DONALD JAMES WILSON,                              )
                                                  )
                            Defendant.            )

                                          ORDER

        THIS MATTER comes before the Court on Defendant's Motion to Continue

Arraignment, presently set for February 18, 2014, until March 3, 2014, at 1:30 p.m. The

Court, being fully advised in the premises, finds that said motion should be granted.

        IT IS THEREFORE ORDERED, that the arraignment presently set for February 18,

2014, shall be continued until March 3, 2014, at 1:30 p.m. The defendant is ordered to

appear at said time.

     DATED this 18th day of January, 2014.


                                                  BY THE COURT:

                                                  s/ F.A. Gossett
                                                  United States Magistrate Judge
